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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 L.G. and P.G., Individually and as Parents and Next          )
 Friends of P.G. 2,                                           )
                                                              )
        Plaintiffs,                                           )
                                                              ) Case No.2:24-cv-140-GSL-JEM
        vs.                                                   )
                                                              )
 LAKE CENTRAL SCHOOL CORPORATION, TISA                        )
 AUGSBERGER, IN HER OFFICIAL AND INDIVIDUAL                   )
 CAPACITY, ALISON PETRALIA, IN OFFICIAL AND                   )
 INDIVIDUAL CAPACITY, LORI MOORE, IN HER                      )
 OFFICIAL AND INDIVIDUAL CAPACITY, AND
                                                              )
 BECKY SZCZESNIAK, IN HER INDIVIDUAL AND
                                                              )
 OFFICIAL CAPACITY,
                                                              )
                                                              )
        Defendants.

 DEFENDANT’S MOTION FOR FEES PURSUANT TO COURT’S ORDER GRANTING
                       MOTION TO COMPEL

        Undersigned counsel for Defendants Lake Central School Corporation, Tisa Augsberger,

 Alison Petralia, Lori Moore, Becky Szczesniak (hereinafter collectively referred to as

 “Defendants” or “School”), hereby certifies as follows, pursuant to N.D. Ind. L.R. 37-1:

    1. On December 12, 2024, Defendant filed its Motion to Compel Discovery seeking for

 Petitioner to provide discovery on outstanding interrogatories and requests for production and

 providing the relevant facts pertaining to Plaintiff’s unnecessary delay in meeting discovery

 requests. [DE 41].

    2. Simultaneously, Defendant’s filed its Rule 37 Certification, outlining the steps taken by

 the Defendants in seeking to resolve the discovery issues and its good faith attempts to confer in

 good faith leading Defendants to file its Motion to Compel. [DE 41-1].

    3. Plaintiffs and Defendants also exchanged responses regarding the Motion to Compel on

 December 30, 2024 and January 7, 2025, respectively. [DE 45 and DE 47].
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    4. To avoid re-stating facts already established by prior pleadings, Defendants hereby

 incorporate its Motion to Compel, [DE 41], Rule 37 Certification, [DE 41-1], and Reply to

 Plaintiff’s Response to Defendant’s Motion to Compel Discovery. [DE 47].

    5. On January 7, 2025, the Court entered its Order granting Defendants’ Motion to Compel

 and ordered the Defendants to provide “an itemization of its costs and fees, including attorney’s

 fees, incurred in making its Motion to Compel and an argument as to why it is entitled to these

 fees.” [DE 48].

                                          Legal Standard

    6. When a motion to compel is granted the court must, after giving an opportunity to be heard,

 require the party whose conduct necessitated the motion, or the attorney advising that conduct, or

 both, to pay the movant’s reasonable expenses, including attorney fees, in bringing that motion to

 compel. Fed. R. Civ. P. 37(a)(5)(A).

    7. The movant is entitled to the fees when they have attempted in good faith to resolve the

 discovery issue, the opposing party was not substantially justified in failing to provide the

 discovery, and it would not be unjust for the expenses to be awarded. Fed. R. Civ. P. 37(a)(5)(A)(i)-

 (iii). See also Lorillard Tobacco Co. v. Elston Self Service Wholesale Groceries, Inc., 259 F.R.D.

 323, 326-27 (N.D. Ill. 2009) (granting request of attorney fees for bringing a motion to compel

 after opposing party provided requested documents after the motion to compel was filed).

 Accordingly, Rule 37(a) mandates a fee-shifting rule where the opposing party must pay when

 they are not substantially justified in failing to meet their discovery obligations. Yessenow v.

 Hudson, 270 F.R.D. 422, 429 (N.D. Ind. 2010) (citing Rickels v. City of South Bend, Ind., 33 F.3d

 785, 787 (7th Cir. 1994).




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 A. Defendants attempted in good faith to resolve the discovery dispute before bringing a motion

    to compel.

    8. Defendants’ Motion to Compel, and accompanying exhibits, and Rule 37 Certification

        outlined the lengths that Defendants went to get Plaintiff’s to provide discovery in a timely

        manner. In particular, Defendants agreed to a reasonable extension of time upon Plaintiff’s

        request to respond to discovery request on October 17, 2024; sent numerous emails to

        Plaintiff’s counsel requesting for discovery to be provided so that Defendants could prepare

        for depositions; met with the Plaintiff on November 14, 2024 to discuss outstanding

        discovery and ways to get discovery completed; and many unsuccessful attempts via email

        and telephone to get in contact with Plaintiff’s counsel. [DE 41 ¶ 3-20].

    9. The Defendants attempted from September 20, 2024 until its Motion to Compel on

        December 12, 2024 to obtain Plaintiff’s responses to written discovery requests as well as

        conduct depositions of the Plaintiff and non-party witnesses.

    10. Clearly, Defendants have taken every step necessary to try and get discovery responses

        from the Plaintiffs to no avail.

    11. In Yessenow v. Hudson, the court granted a motion to compel and granted the movant’s

        request for attorney fees after it showed it had sent a letter regarding the outstanding

        discovery and exchanged emails and phone calls to try and resolve the dispute over an

        interrogatory question served upon the nonmovant. Yessenow, 270 F.R.D. 422, 429 (N.D.

        Ind. 2010). Similarly, in this case, Defendants have called, emailed, and met and conferred

        numerous times to resolve this dispute in good faith.

 B. Plaintiff was not substantially justified in their failure to provide discovery prior to the motion

    to compel.



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    12. Plaintiff was not substantially justified in failing to provide discovery.

    13. Plaintiff’s burden is to show that their delay or refusal to comply with discovery was

       substantially justified. See Rickels, 33 F.3d at 787. Plaintiffs’ failure to provide discovery

       is substantially justified if reasonable people could differ as to the appropriateness of the

       refusal. Axis Insur. Co. v. Amer. Specialy Insur. & Risk Services, Inc., 340 F.R.D. 570, 573

       (N.D. Ind. 2021) (citing Pierce v. Underwood, 487 U.S. 552, 565 (1988).

    14. Plaintiff substantially delayed in providing discovery to the Defendants surpassing

       statutory timelines and even its own deadline after requesting an extension from the

       Defendant.

    15. There is no reasonable basis for Plaintiff’s delay and thus no substantial basis for their

       failure to comply with discovery obligations.

    C. Ordering the Plaintiff to reimburse the expenses for Defendants’ Motion to Compel would

    not be unjust.

    16. It would not be unjust to require Plaintiffs, or Plaintiff’s counsel, to reimburse the expenses

       for Defendant’s motion to compel.

    17. The function of a motion to compel is to seek court action to force a party to respond to

       discovery when the movant has done everything within its power to resolve the issue.

    18. Plaintiff’s ongoing refusal to provide discovery within a timely manner and continuous

       delays shows a pattern equating to bad faith justifying sanctions. See Houston v. C.G. Sec.

       Services, Inc. 302 F.R.D. 268, 281 (S.D. Ind. 2014) (citing Marrocco v. General Motors

       Corp., 966 F.2d 220, 224 (7th Cir. 1992).

    19. Defendants were burdened by their inability to pursue discovery in a timely manner and

       have been hampered by Plaintiff’s unnecessary delay as it pertains to discovery.



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    20. Defendant’s Motion to Compel would have been unnecessary had Plaintiff responded to

        discovery in a timely manner and responded to Defendant’s persistent attempts to get

        discovery responses from the Plaintiff.

    21. Defendants have provided an itemized list of expenses it has incurred in bringing the

        Motion to Compel including necessary drafting of pleadings, attempts at contacting

        Plaintiff’s counsel, successful communications with Plaintiff’s counsel, reply to Plaintiff’s

        counsel regarding ongoing discovery disputes. See Exhibit A. Defendants have charged a

        reasonable rate for its services, which is derived from the reasonable rate for attorneys in

        the relevant legal market.

    22. As such, justice requires that the court order the Plaintiffs, or their counsel, to pay the

        expenses incurred in bringing Defendant’s Motion to Compel.

 WHEREFORE, pursuant to Rule 37, for the forgoing reasons the Defendants respectfully request

 the Court to order Plaintiffs to pay the Defendants expenses in the amount of $3,458.00.

                                              Respectfully submitted,

                                              LEWIS & KAPPES, P.C.

                                              /s/ Rodney Pol, Jr.
                                              Rodney Pol, Jr., Attorney No. 29430-49
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                                              Attorney for Defendants




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 21, 2025 a copy of the foregoing was filed electronically.
 All ECF-registered counsel will receive a copy of this document by operation of the Court’s
 electronic filing system. Parties may access this filing through the Court’s system.


                                                      /s/ Rodney Pol, Jr.




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